         Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 1 of 10




                  AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Special Agent Levon Epps of the United State Secret Service, being duly sworn, hereby

depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

       1.        I am a Special Agent with the United States Secret Service (“USSS”) and have been

in this position since November 2020. I am currently assigned to the Washington Field Office

Cyber Fraud Task Force. In this capacity, my duties include investigating federal criminal offenses

in the National Capital Region. Upon entering the USSS, I successfully completed the Criminal

Investigator Training Program at the Federal Law Enforcement Training Centers and the Special

Agent Training Course at the USSS James J. Rowley Training Center. This training has included

surveillance, undercover operations, suspect and witness interviewing, execution of search

warrants, federal criminal law, electronic law and evidence, and the Fourth, Fifth, and Sixth

Amendments. I have investigated numerous individuals for a wide variety of federal and state

felony offenses, including computer fraud and threats against Secret Service protectees. Prior to

my tenure as a Special Agent, I have fourteen years of law enforcement experience as a Virginia

State Trooper.

       2.        This affidavit is submitted in support of a criminal complaint alleging that Thomasz

Szabo, a/k/a “Plank,” “Jonah,” and “Cypher” (“SZABO”) and Nemanja Radovanovic, a/k/a

“XBD31,” “Thuggin,” and “XDR” (“RADOVANOVIC”), violated 18 U.S.C. §§ 844(n)

(conspiracy to maliciously convey false information involving explosives) as part of a pattern of

malicious conduct targeting public officials, religious institutions, and other victims beginning no

later than December 24, 2023, and continuing through at least January 9, 2024. The facts below
           Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 2 of 10




provide probable cause to believe that the defendants violated 18 U.S.C. § 844(n) by conspiring to

commit a violation of 18 U.S.C. § 844(e), that is, to:

                 a.      Convey false information about an attempt being made, or to be made, to

          kill or injure any individual or unlawfully damage or destroy any building;

                 b.      Use, or cause to be used, an instrument of interstate or foreign commerce,

          such as a telephone, to communicate the false information; and

                 c.      Do so maliciously, that is, with the intention to cause damage or injury or

          with deliberate disregard for the likelihood that damage or injury would result.

          3.     As detailed below, multiple telephone calls in furtherance of the conspiracy were

placed to the District of Columbia. Accordingly, venue for this offense properly lies in the District

of Columbia.

          4.     This affidavit is based on my personal knowledge, information provided to me by

other law enforcement agents and officers, law enforcement records, business records, and my

training and experience.

          5.     Because this affidavit is being submitted for the limited purpose of establishing

probable cause in support of a criminal complaint, I have not included each and every fact known

to me concerning this investigation. I have set forth only the facts that I believe are necessary to

establish probable cause to believe that SZABO and RADOVANOVIC violated 18 U.S.C. §§

844(n).

                                        PROBABLE CAUSE

                                   “Swatting” and bomb threats

          6.     Beginning in late December 2023 and continuing through January 2024, law

enforcement agencies across the country experienced a surge in “swatting” and fictitious bomb




                                                   2
            Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 3 of 10




threats targeting high-profile public figures, religious institutions, and other victims. “Swatting” is

a malicious activity in which the perpetrator falsely reports an ongoing or imminent act of violence

at an address, with the intention of harassing and endangering the occupants of the address by

causing a SWAT team or other police response to be deployed there. Similarly, fictitious bomb

threats are generally intended to cause an emergency response at, and/or evacuation of, the targeted

premises. Throughout this document, swatting and bomb threats are together referred to as “hoax

reports.”

       7.       The pattern of hoax reports included the following telephone calls to the District of

Columbia, among others:

                a.     On or about December 26, 2023, a person placed a call to the District of

       Columbia Metropolitan Police Department (“MPD”) non-emergency line, which call was

       automatically recorded. The caller, a man who spoke English with a foreign accent, claimed

       that he had stabbed his wife to death and taken a man hostage after discovering them in an

       adulterous relationship. The caller claimed to possess “multiple pipe bombs” that he would

       detonate if he was not paid a $10,000 ransom. The caller claimed to be at a specific

       residential address in the District of Columbia. Law enforcement subsequently determined

       that the call was a hoax and that the address was, in fact, the home of Official Victim 1, a

       senior U.S. executive branch official under the protection of USSS.

                b.     On or about December 28, 2023, a person placed a call to the MPD non-

       emergency line, which call was automatically recorded. In my opinion, the caller’s voice

       is the same as that of the caller described in subparagraph (a) above. The caller provided

       the name and address of Victim Business 1 and claimed that he had “placed some pipe




                                                  3
        Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 4 of 10




       bombs” at the premises that were timed to explode in 45 minutes. Law enforcement

       subsequently determined that there were no explosives at the location.

              c.      On or about December 30, 2023, a person placed a call to the MPD non-

       emergency line, which call was automatically recorded. In my opinion, the caller’s voice

       is the same as that of the caller described in subparagraphs (a) and (b) above. The caller

       claimed to have broken into a home at a specific address and shot a person there. Law

       enforcement subsequently determined that the call was a hoax and that the address was, in

       fact, the home of Official Victim 2, a cabinet-level U.S. executive branch official under the

       protection of USSS.

                      Google Voice Records Showing Extent of Conduct

       8.     Based on an analysis of phone and internet provider records obtained via legal

process, USSS identified “Google Voice” as the means by which the hoax reports had been made.

Google Voice is an online service that allows users to send and receive phone calls over the

internet. Through legal process to Google, USSS obtained call records for two Google Voice

accounts: one associated with the phone number XXX-XXX-2821, and another associated with

the phone number XXX-XXX-4146. Those call records included outgoing calls to the D.C. MPD

non-emergency line that matched the hoax calls described in paragraph 7 above in date, time, and

duration, indicating that the person using the -2821 and -4146 Google Voice accounts was the

person who made the calls.

       9.     The Google Voice records showed that -2821 and -4146 Google Voice accounts also

placed hundreds of other calls, to approximately 170 different police and government phone

numbers, during the period from on or about December 24, 2023, through on or about January 9,




                                                4
         Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 5 of 10




2024. Investigators have collected records (including audio recordings) for roughly 100 of those

calls, which establish the following:

               a.      Each of the calls involved a false report of a homicide, kidnapping, bomb

       threat, or similar violent emergency at a victim premises.

               b.      Some of the calls, like the call described in paragraph 7.b above, involved

       a bomb threat directed at a business, government facility, or house of worship. These

       included multiple calls making bomb threats against churches during Christmas services.

               c.      The rest of the calls were apparent “swatting” attempts that falsely reported

       an ongoing violent emergency at a residential address. While some of these calls targeted

       private citizens chosen seemingly at random, most of the calls targeted public officials,

       family members of public officials, and other prominent individuals. These included

       numerous Members of Congress and their family members, multiple cabinet-level

       executive branch officials, multiple heads of federal law enforcement agencies, a former

       President of the United States, and numerous elected and appointed state officials. Many

       of these calls involved threats to detonate explosives at the victim’s home.

               d.      The calls followed a small number of pattern “scripts,” all of which began

       with a purported “confession” to an act of violence. In the most common version, the caller

       claimed to have killed his wife after discovering her in an adulterous relationship and taken

       the “boyfriend” hostage. Often, the caller claimed to possess a certain firearm (usually a

       “modified AR-15”) and/or explosives (usually “pipe bombs”). The caller frequently

       demanded a ransom consisting of $10,000 “in a briefcase” in exchange for the life of the

       hostage.




                                                 5
        Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 6 of 10




              e.      Each of the calls except one involved a man speaking with a foreign accent,

       seemingly the same voice in every call (including the calls described in paragraph 7 above).

       The single exception was a call placed on or about January 4, 2024, that used an apparently

       computer-generated artificial voice.

                                      SZABO’s Confession

       10.    On or about January 18, 2024, pursuant to a mutual legal assistance request,

Romanian law enforcement made contact with SZABO in Romania. SZABO agreed to participate

in an interview with USSS agents who were present. After being advised of his rights under U.S.

law, SZABO stated the following during a recorded interview:

              a.      SZABO admitted that he had been involved in hoax reports since late 2020.

       Since that time, he had been involved in both swatting and bomb threats. SZABO described

       “swatting” as “call[ing] emergency services or police with a false report . . . to show up at

       the place. . . . They think something dangerous is going.” He described “bomb threats” as

       “calling up emergency services or police and telling them there’s an explosive planted there

       or something like that.” SZABO described his conduct as involving “90 percent swatting, 10

       [percent] bomb threats.”

              b.      As part of his swatting activities, SZABO acted as a leader of online groups,

       including a chat group called “Shenanigans” devoted to swatting and bomb threats.

              c.      When agents played recordings of the December 2023 / January 2024

       swatting calls for him, SZABO recognized the voice of the caller as a member of his

       swatting community who had described himself as Serbian. Later, SZABO directed USSS

       agents to chat logs with the “Serbian” in which the “Serbian” used the moniker “XBD35.”




                                                6
        Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 7 of 10




                                 RADOVANOVIC’s Confession

       11.     Based on information provided by SZABO and on subsequent investigation, USSS

came to associate the online persona “XBD31” with the name of a specific Serbian national,

identified here as “A.R.” On or about February 13, 2024, pursuant to a mutual legal assistance

request, Serbian law enforcement made contact with A.R. and with A.R.’s younger brother,

Nemanja RADOVANOVIC, at their residence in Serbia. Upon learning the purpose of the police

visit, A.R. and RADOVANOVIC informed officers that RADOVANOVIC was the person they

were looking for. RADOVANOVIC thereafter agreed to participate in an interview with USSS

agents who were present. After being advised of his rights under U.S. law, RADOVANOVIC stated

the following during a recorded interview:

               a.      RADOVANOVIC admitted that he had recently swatted various public

       officials in the United States.

               b.      RADOVANOVIC recited the elements of the “script” that he had used

       during his swatting calls. They mirrored the most common elements from the calls under

       investigation, as summarized in paragraph 9.d above. RADOVANOVIC explained: “Like,

       I killed my wife… And I want $10,000 or I’ll kill the man she was cheating on me with.”

       When asked how he demanded the money, RADOVANOVIC responded, “briefcase.”

       When asked what type of weapon he threatened to use, RADOVANOVIC responded, “15-

       something. R-15 something.”

               c.      Agents played the audio recording of the swatting call described in

       paragraph 7.a above, and RADOVANOVIC admitted that he was the speaker. Agents

       played approximately twelve other calls that had been identified as likely part of the same




                                                7
         Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 8 of 10




       pattern (based on the caller’s voice and on common elements of the “script”), and

       RADOVANOVIC admitted that he was the speaker in each one.

               d.     RADOVANOVIC claimed that he was acting at the direction of a certain

       third party who supplied him with the “script,” provided him the victim addresses he should

       use, and dialed the calls for him via an audio-sharing application. The third party, a

       juvenile, has admitted to law enforcement his involvement in the swatting calls; he

       explained that he would select the victims and dial the calls, and RADOVANOVIC (whom

       he knew by the online moniker “Thuggin”) would speak the words according to a script

       that was mostly created by RADOVANOVIC.

               e.     RADOVANOVIC also claimed to have done no more than twenty swatting

       calls, but I believe this to be false based on the Google Voice records summarized above

       and on RADOVANOVIC’s chat messages described below.

       12.     I have listened to the recording of RADOVANOVIC’s interview. It is my opinion,

consistent with RADOVANOVIC’s admissions summarized above, that RADOVANOVIC’s voice

has the same distinct foreign accent as in the hoax calls as described in paragraph 7 above.

                    Chat Records Between SZABO and RADOVANOVIC

       13.     Both SZABO and RADOVANOVIC consensually provided USSS with chat logs

from various chat groups of which they were a part. Those chats included a one-on-one chat

between SZABO (using the moniker “NotThuggin2”) and RADOVANOVIC (using the moniker

“XBD31”). This chat included messages, including but not limited to those summarized below,

that establish SZABO’s and RADOVANOVIC’s joint participation in an extended pattern of

swatting and bomb threats.




                                                8
         Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 9 of 10




       14.     On or about December 24, 2023, SZABO sent a screenshot of a social media post

by a third party commenting that conservative influencers were being swatted, followed by a list

of four specific social media handles. Under the screenshot, SZABO wrote, “all our victims.”

Earlier in the chat, the two had specifically discussed swatting three out of the four persons listed

in the screenshot.

       15.     Later that same day, SZABO told RADOVANOVIC to swat a specific person

whom he described as “a libtard zoomer” who “makes tiktok videos for democrats.”

RADOVANOVIC responded, “What you want to swat him?,” and SZABO replied, “need the

libtards to cry too. we are not on any side.”

       16.     On or about December 26, 2023, RADOVANOVIC sent SZABO messages

including “swatting rampage”; “I did 25+ swattings today”; and “creating massive havoc in

america. $500,000+ in taxpayers wasted in just two days.”




                                                 9
        Case 1:24-cr-00386-ABJ Document 1-1 Filed 07/18/24 Page 10 of 10




                                          Conclusion

       17.    Based upon the facts above, there is probable cause to believe that SZABO and

RADOVANOVIC violated 18 U.S.C. § 844(n) in that, from on or about December 24, 2023,

through on or about January 9, 2024, they conspired with each other and with others to violate 18

U.S.C. § 844(e).

                                                    Respectfully submitted,



                                                    Levon Epps
                                                    Special Agent
                                                    United States Secret Service


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 on July 18, 2024
                   2024.07.18
                   15:10:12 -04'00'
_________________________________________
ZIA M. FARUQUI
UNITED STATES MAGISTRATE JUDGE




                                               10
